             So Ordered.

Dated: April 21st, 2022
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   9                          UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF WASHINGTON
  10
           In re                                           Chapter 11
  11

  12       EASTERDAY RANCHES, INC., et al.                 Lead Case No. 21-00141-WLH11
                                                           Jointly Administered
  13
                                       Debtors.1           STIPULATED ORDER
  14                                                       APPROVING SETTLEMENT
                                                           AGREEMENT AND RELEASE
  15                                                       WITH WASHINGTON TRUST
  16                                                       BANK

  17               Upon the Debtors’ Motion Under Bankruptcy Rule 9019 for Order Approving
  18   Settlement Agreement and Release With Washington Trust Bank [Docket No. 1431] (the
  19   “Motion”);2 and the court having jurisdiction over this matter pursuant to 28 U.S.C. §§
  20   157 and 1334; and the court having found this matter is a core proceeding pursuant to
  21   28 U.S.C. § 157(b)(2) and the court may enter a final order consistent with Article III
  22   of the United States Constitution; and the court having found that venue of this
  23
       1
  24         The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.
             (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
  25   2
             A capitalized term used but not defined herein shall have the meaning ascribed to it
  26         in the Motion.
  27       STIPULATED ORDER APPROVING                     P ACHULSKI S TANG                   B USH K ORNFELD           LLP
           SETTLEMENT AGREEMENT AND                       Z IEHL & J ONES L L P                       LAW OFFICES
                                                                                                 601 Union St., Suite 5000
  28       RELEASE WITH WASHINGTON                      10100 Santa Monica Blvd., 13th Flr.
                                                          Los Angeles, CA 90067-4003
                                                                                              Seattle, Washington 98101-2373
           TRUST BANK – Page 1                              Telephone (310) 277-6910
                                                                                                 Telephone (206) 292-2110
                                                                                                 Facsimile (206) 292-2104
                                                            Facsimile (310) 201-0760



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 1   proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and
 2   1409; and the court having considered the statements of counsel, the declaration of Peter
 3   Richter submitted in support of the Motion, any objections raised, and the evidence
 4   presented at the hearing before this court (the “Hearing”); and it appearing that the relief
 5   requested in the Motion is reasonable and in the best interests of the Debtors’
 6   bankruptcy estates, their creditors, and other parties in interest; and after due
 7   deliberation and sufficient cause appearing therefor;
 8          IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
 9          1.       The Motion [ECF No. 1431] is granted as set forth herein.
10          2.       All formal objections have been withdrawn and any informal objections to
11   the relief requested in the Motion that have not been withdrawn, waived, or settled by
12   the provisions hereof are overruled on the merits. The Easterday Family, as defined
13   herein, has waived its right, if any, to appeal this order.
14          3.       The Settlement Agreement with Washington Trust Bank (“WTB”)
15   attached hereto as Exhibit 1 is approved, as modified herein.
16          4.       The Debtors are authorized to execute and consummate the terms of the
17   Settlement Agreement and to do such other things as may be necessary or appropriate
18   to implement and effectuate the terms and requirements of the Settlement Agreement.
19          5.       Notwithstanding anything to the contrary contained herein or the
20   Settlement Agreement, paragraph 7 of the Settlement Agreement is hereby deleted in
21   its entirety.
22          6.       Notwithstanding anything to the contrary contained herein or the
23   Settlement Agreement, paragraph 10 of the Settlement Agreement is hereby replaced in
24   its entirety with the following:
25                   10. Mutual Releases. Upon the Parties’ compliance with this Agreement,
26                   including WTB’s receipt of the final payment required in Paragraph 6
27    STIPULATED ORDER APPROVING                       P ACHULSKI S TANG                   B USH K ORNFELD           LLP
      SETTLEMENT AGREEMENT AND                         Z IEHL & J ONES L L P                       LAW OFFICES
                                                                                              601 Union St., Suite 5000
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                                                                                           Seattle, Washington 98101-2373
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                                                         Facsimile (310) 201-0760



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 1            above, as good and valid consideration for the Parties’ respective
 2            performance of the obligations set forth in this Agreement:

 3            A.      Release of Claims by Debtors’ Estates and Easterday Family: The
                      Debtors, on behalf of their estates, and Cody and Debby Easterday,
 4
                      Karen Easterday, individually and as personal representative of the
 5                    probate estate of Gale A. Easterday (together with Cody and Debby
                      Easterday, the “Easterday Family”), hereby release, waive, and
 6
                      discharge any and all claims, interests, obligations rights, suits,
 7                    damages, causes of action, remedies, and liabilities whatsoever,
                      asserted or assertable by or on behalf of the Debtors’ estates as well
 8
                      as those asserted or assertable by the Easterday Family, whether
 9                    known or unknown, foreseen or unforeseen, existing or hereafter
                      arising, in law, equity, or otherwise, against WTB and its officers,
10
                      directors, managers, members, employees, investors, principals,
11                    representatives, participants, and affiliates, arising from or relating
                      to, or in connection with the Debtors or the Easterday Family
12
                      (whether prepetition or postpetition), their chapter 11 cases, and any
13                    claims asserted by WTB against the Debtors or the Easterday
                      Family.
14

15            B.      Release by WTB of Claims Against the Debtors and Easterday
                      Family: WTB, on behalf of itself and as successor to CHS Capital,
16                    LLC (“CHS”) under the CHS Loan Documents, hereby releases,
17                    waives, and discharges any and all claims, interests, obligations,
                      rights, suits, damages, causes of action, remedies, and liabilities
18                    whatsoever, asserted or assertable by or on behalf of WTB or CHS
19                    under the CHS Loan Documents, whether known or unknown,
                      foreseen or unforeseen, existing or hereafter arising, in law, equity,
20                    or otherwise, against the (i) Debtors, their estates, and their present
21                    and former officers, directors, managers, members, employees,
                      investors, principals, representatives, and affiliates, and (ii) the
22                    Easterday Family and their present and former officers, directors,
23                    managers, members, employees, investors, principals, advisors,
                      agents, representatives, and affiliates (together the “Easterday
24
                      Family Released Parties”), of any and all claims arising from, or in
25                    any way related to, or in connection with the Debtors (whether
                      prepetition or postpetition), or their chapter 11 cases, including but
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27   STIPULATED ORDER APPROVING                    P ACHULSKI S TANG                   B USH K ORNFELD           LLP
     SETTLEMENT AGREEMENT AND                      Z IEHL & J ONES L L P                       LAW OFFICES
                                                                                          601 Union St., Suite 5000
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                                                   Los Angeles, CA 90067-4003
                                                                                       Seattle, Washington 98101-2373
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                                                                                          Telephone (206) 292-2110
                                                                                          Facsimile (206) 292-2104
                                                     Facsimile (310) 201-0760



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 1                       not limited to any claims by WTB or CHS under the WTB Loan
 2                       Documents, CHS Loan Documents, and any and all guarantees
                         associated therewith as against the Debtors or the Easterday Family
 3                       Released Parties. For the avoidance of doubt, except as otherwise
 4                       provided herein, WTB, on behalf of itself and as successor to CHS
                         under the CHS Loan Documents, shall have no further claims
 5                       against the Debtors or the Easterday Family Released Parties.
 6
            7.     Notwithstanding anything to the contrary in the Settlement Agreement, the
 7
     Sale Order,3 or any other order of the court in these chapter 11 cases, the Debtors are
 8
     hereby authorized and directed to (a) direct the release of the Net Sale Proceeds from
 9
     the Escrow Account in an amount sufficient to pay WTB in accordance with the terms
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     of the Settlement Agreement, and (b) use such funds to pay WTB in full within fourteen
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     (14) days of the entry of this order in accordance with the terms of the Settlement
12
     Agreement. For the avoidance of doubt, (a) the Debtors are authorized to pay the entire
13
     WTB Allowed Claim upon entry of this order and (b) nothing herein affects or
14
     otherwise modifies the Debtors’ obligation to make the Initial Payment in accordance
15
     with Paragraph 4 of the Settlement Agreement.
16
            8.     As of the Agreement Effective Date, (a) WTB shall have an allowed claim
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     as provided for in the Settlement Agreement, (b) the Debtors and the Easterday Family
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     shall not challenge WTB’s allowed claim, and (c) any plan filed by the Debtors shall
19
     provide for the same treatment of WTB’s allowed claim as provided for in the
20
     Settlement Agreement.
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            9.     WTB’s agreement to allow the use of cash collateral as set forth in the
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     Settlement Agreement shall not constitute a waiver of any adequate protection provided
23
     to WTB in the Cash Collateral Order.
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          Docket. No. 927.

27       STIPULATED ORDER APPROVING                  P ACHULSKI S TANG                   B USH K ORNFELD           LLP
         SETTLEMENT AGREEMENT AND                    Z IEHL & J ONES L L P                       LAW OFFICES
                                                                                            601 Union St., Suite 5000
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                                                     Los Angeles, CA 90067-4003
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         TRUST BANK – Page 4                           Telephone (310) 277-6910
                                                                                            Telephone (206) 292-2110
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                                                       Facsimile (310) 201-0760



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 1          10.    Notwithstanding any terms of the Settlement Agreement, the court
 2   makes no determination pursuant to this order regarding the proper allocation
 3   between the estates of the $8 million in cash collateral contemplated under section
 4   5 of the Settlement Agreement and, accordingly, the rights of all parties, including,
 5   without limitation, the Committees, to argue and seek a determination from the
 6   court regarding such issue is hereby reserved.
 7          11.    Notwithstanding Bankruptcy Rule 6004(h), this order shall be immediately
 8   effective and enforceable upon its entry and there shall be no stay of execution of
 9   effectiveness of this order as provided in such Rule.
10          12.    The court shall retain jurisdiction over any matter or dispute arising from
11   or relating to this order.
12                                    /// END OF ORDER ///
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27    STIPULATED ORDER APPROVING                       P ACHULSKI S TANG                   B USH K ORNFELD           LLP
      SETTLEMENT AGREEMENT AND                         Z IEHL & J ONES L L P                       LAW OFFICES
                                                                                              601 Union St., Suite 5000
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                                                         Facsimile (310) 201-0760



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 1   IT IS SO STIPULATED AND PRESENTED BY:
 2   BUSH KORNFELD LLP
 3   /s/ Thomas A. Burford, III
     THOMAS A. BUFORD, III (WSBA 52969)
 4   BUSH KORNFELD LLP
 5   RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
     JEFFREY W. DULBERG (Admitted Pro Hac Vice)
 6
     MAXIM B. LITVAK (Admitted Pro Hac Vice)
 7   PACHULSKI STANG ZIEHL & JONES LLP

 8   Attorneys for Debtors and Debtors in Possession

 9   LUKINS & ANNIS, P.S.

10 /s/ Burke Jackowich
11 BURKE JACKOWICH
   LUKINS & ANNIS, P.S
12

13   Attorneys for Washington Trust Bank
14
     SUSSMAN SHANK
15
   /s/ Jeffrey C. Misley
16
   JEFFREY C. MISLEY (WSBA 33397)
17 SUSSMAN SHANK

18
     Attorneys for Cody and Debby Easterday
19
     TONKON TORP LLP
20

21 /s/ Timothy J. Conway
22 TIMOTHY J. CONWAY (WSBA 52204)
   TONKON TORP LLP
23

24 Attorneys for Karen L. Easterday
   individually and as personal
25 representative of the estate of Gale A.

26 Easterday

27    STIPULATED ORDER APPROVING                         P ACHULSKI S TANG                   B USH K ORNFELD           LLP
      SETTLEMENT AGREEMENT AND                           Z IEHL & J ONES L L P                       LAW OFFICES
                                                                                                601 Union St., Suite 5000
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                                                           Facsimile (310) 201-0760



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 1                                     EXHIBIT 1
 2
                                 Settlement Agreement
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                             SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (this “Agreement”) is entered into as of February
 17, 2022, by and among: (A) Easterday Ranches, Inc. (“Ranches”) and Easterday Farms (“Farms),
 as debtors and debtors in possession (together, the “Debtors”), and (B) Washington Trust Bank
 (“WTB”). The Debtors and WTB are the “Parties” hereto and each is a “Party” hereto.

                                              RECITALS

        WHEREAS, on February 1, 2021, Ranches commenced a voluntary bankruptcy case under
 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
 Bankruptcy Court for the Eastern District of Washington (the “Bankruptcy Court”), which chapter
 11 case is jointly administered with the Farms’ chapter 11 case addressed below under Case No.
 21-00141-11;

        WHEREAS, on February 8, 2021, Farms commenced a voluntary bankruptcy case under
 chapter 11 of the Bankruptcy Code in the Bankruptcy Court, which is jointly administered with
 the Ranches’ chapter 11 case;

       WHEREAS, the Debtors, as borrowers, and WTB, as lender, are parties to that certain Loan
 Agreement dated as of September 3, 2020, and related Promissory Note and Agricultural Security
 Agreement (collectively with any other ancillary documents, the “WTB Loan Documents”);

        WHEREAS, Cody and Debby Easterday and Gale and Karen Easterday (collectively, the
 “Easterday Family”) are guarantors under the WTB Loan Documents.

          WHEREAS, pursuant to the WTB Loan Documents, WTB made available to the Debtors
 a line of credit in the amount of up to $45,000,000, in consideration of which WTB was granted a
 first priority lien in certain of the Debtors’ personal property, all as more fully set forth in the WTB
 Loan Documents;

         WHEREAS, the Debtors and the Easterday Family, as borrowers, and CHS Capital, LLC
 (“CHS”), as lender, are parties to that certain Agricultural Loan Agreement, and related
 Promissory Note and Agricultural Security Agreement, each dated as of April 13, 2020
 (collectively with any other ancillary documents, the “CHS Loan Documents”);

         WHEREAS, pursuant to the CHS Loan Documents, CHS made available to the Debtors
 loan advances in the amount of $6,000,000, in consideration of which CHS was granted a first
 priority lien in certain of the Debtors’ personal property, all as more fully set forth in the CHS
 Loan Documents and subject to that certain Subordination Agreement dated August 20, 2020 with
 WTB;

      WHEREAS, on or about May 21, 2021, CHS assigned all of its interests in the CHS Loan
 Documents to WTB;

        WHEREAS, on or about March 25, 2021, the Bankruptcy Court entered the Final Order
 Authorizing Debtors Easterday Ranches, Inc. to Use Cash Collateral and Granting Adequate
 Protection (the “Cash Collateral Order”). Pursuant to the Cash Collateral Order, WTB and CHS


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 were granted certain adequate protection for the use of their cash collateral, all as more fully set
 forth therein;

        WHEREAS, WTB filed proofs of claim with the Clerk of the Bankruptcy Court against
 Ranches (Claim Nos. 60 and 101) and Farms (Claim Nos. 126 and 140) (collectively, the “WTB
 Proofs of Claim”) evidencing all amounts due and owing under the WTB Loan Documents and
 the CHS Loan Documents;

         WHEREAS, pursuant to the terms of this Agreement, the Parties have decided to fully and
 finally resolve the disputes that currently exist between them;

                                           AGREEMENT

         NOW, THEREFORE, in consideration of the promises and agreements contained herein,
 and for good and valuable consideration, the sufficiency of which is hereby acknowledged, the
 Parties agree as follows:

                  Incorporation of Recitals. The Recitals set forth above are incorporated by
 reference.

                  Agreement Effective Date. This Agreement shall become effective and binding on
 each of the Parties (the “Agreement Effective Date”) once all of the Parties execute this Agreement
 and the Bankruptcy Court enters an order in form and substance acceptable to the Parties approving
 this Agreement that is in effect and has not been stayed (the “Approval Order”). Following
 execution of this Agreement by the Parties, the Debtors shall promptly file a motion for the
 Approval Order pursuant to Federal Rule of Bankruptcy Procedure 9019 in form and substance
 acceptable to the Parties, and all Parties shall support such motion as needed. The Parties shall
 use their best efforts to schedule a hearing on the Approval Order by March 16, 2022, subject in
 all respects to the Court’s calendar. WTB represents, warrants, and acknowledges to the Debtors,
 as of the Agreement Effective Date and except as set forth herein, that: (A) all of its rights and
 claims against the Debtors are (i) resolved by this Agreement and (ii) beneficially owned and
 controlled by WTB, including all rights under the CHS Loan Documents, and (B) no portion of its
 rights and claims under either the WTB Loan Documents or the CHS Loan Documents has been
 transferred, assigned, or otherwise conveyed to any other person or entity.

                   Allowed Claim: Upon the occurrence of the Agreement Effective Date, WTB, on
 behalf of itself and as successor to CHS under the CHS Loan Documents, shall be deemed to have
 a single allowed secured claim against the Debtors in the amount of $49,886,366.94 (the “WTB
 Allowed Claim”), which claim shall include, without limitation, all obligations under the WTB
 Loan Documents and the CHS Loan Documents. The WTB Allowed Claim shall be treated as a
 secured claim, secured by any assets that are subject to WTB’s and CHS’s existing prepetition
 liens or the proceeds thereof, and the adequate protection liens and superpriority administrative
 claims provided for in the Cash Collateral Order. Notwithstanding anything to the contrary
 contained herein, and for the avoidance of doubt, the Approval Order shall provide that upon the
 Agreement Effective Date (i) the WTB Allowed Claim shall be deemed allowed as provided in
 this Agreement, (ii) the Debtors will not further challenge the WTB Allowed Claim, and (iii) any



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 plan filed by Ranches and/or Farms shall provide for the payment of the WTB Allowed Claim as
 provided in this Agreement.

                  Distributions to WTB: Within three (3) business days of the Agreement Effective
 Date, the Debtors will distribute the sum of $20,000,000 in cash (the “Initial Payment”) from the
 proceeds of WTB’s collateral to WTB on account of the WTB Allowed Claim and in partial
 satisfaction thereof. If the Initial Payment is not made in accordance with this Paragraph 4, this
 Agreement shall become null and void and of no further force or effect.

                 Use of WTB Collateral: Upon WTB’s receipt of the Initial Payment, WTB
 consents to the release of $8,000,000 of its cash collateral to the Debtors to pay allowed
 professional fees and costs incurred in the Debtors’ cases, including without limitation, those fees
 and costs incurred by the Debtors’ professionals, the Debtors’ board of directors, the Debtors’ co-
 chief restructuring officers and their firm, and the official creditors’ committees and their
 professionals. The Approval Order shall provide that WTB’s consent to the release of cash
 collateral pursuant to this paragraph shall not constitute a waiver of any adequate protection
 provided to WTB under the Cash Collateral Order.

                  Discount on WTB Allowed Claim: Subject to the occurrence of the Agreement
 Effective Date, WTB agrees to a discount of 10% or the sum of $4,988,636.69 on the WTB
 Allowed Claim, provided that the Debtors distribute, whether under a chapter 11 plan or otherwise,
 full and final payment to WTB of the remaining WTB Allowed Claim (inclusive of the Initial
 Payment) by no later than June 30, 2022 (the “Outside Payment Date”). Notwithstanding the
 foregoing, if the WTB Allowed Claim is not paid in full by the Outside Payment Date, WTB shall
 retain the benefit of its full WTB Allowed Claim, without the above discount, net of any payments
 received from the Debtors’ estates or any other party, and WTB shall retain all of its available
 rights against non-Debtors (as defined below).

                 Waiver and Assignment of Remaining Claims: If WTB is paid in full on account
 of the WTB Allowed Claim by the Outside Payment Date, WTB shall be deemed to assign to the
 Debtors’ estates or its designee, including any successor thereto, all of WTB’s rights under the
 WTB Loan Documents and the CHS Loan Documents, including any right to pursue deficiency
 claims against non-Debtors. WTB shall further waive any entitlement to proceeds of any claim
 against non-Debtors resulting from the above assignment. For purposes of this Agreement, the
 term “non-Debtors” shall include the Easterday Family and any other party or parties that is not a
 Debtor. Pending the occurrence of the Outside Payment Date, WTB shall suspend all litigation
 against any non-Debtors with respect to any obligations arising under the WTB Loan Documents
 or the CHS Loan Documents.

                 WTB Support of Plan: WTB agrees to vote in favor of any chapter 11 plan filed
 by the Debtors in their cases that is consistent with this Agreement and WTB will support
 confirmation of such chapter 11 plan with a filing by WTB on the docket.

                  Full Resolution. Upon the Parties’ compliance with this Agreement, including
 WTB’s receipt of the final payment required in Paragraph 6 above, (a) WTB shall retain any prior
 distributions from the Debtors in their chapter 11 cases, (b) the WTB Proofs of Claim shall be



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 deemed fully and finally satisfied, and (c) WTB shall have no further claims under the WTB Loan
 Documents, the CHS Loan Documents, or otherwise in the Debtors’ chapter 11 cases.

                Mutual Releases. Upon the Parties’ compliance with this Agreement, including
 WTB’s receipt of the final payment required in Paragraph 6 above, and as good and valid
 consideration for the Parties’ respective performance of the obligations set forth in this Agreement:

                  A.         Release by Debtors’ Estates:

                             The Debtors, on behalf of their estates, hereby release, waive, and discharge
                             any and all claims, interests, obligations, rights, suits, damages, causes of
                             action, remedies, and liabilities whatsoever, asserted or assertable by or on
                             behalf of the Debtors’ estates, whether known or unknown, foreseen or
                             unforeseen, existing or hereafter arising, in law, equity, or otherwise,
                             against WTB and its officers, directors, managers, members, employees,
                             investors, principals, representatives, participants, and affiliates, arising
                             from, related to, or in connection with the Debtors (whether prepetition or
                             postpetition), their chapter 11 cases, and any claims asserted by WTB
                             against the Debtors.

                  B.         Release by WTB:

                             WTB, on behalf of itself and as successor to CHS under the CHS Loan
                             Documents, hereby releases, waives, and discharges any and all claims,
                             interests, obligations, rights, suits, damages, causes of action, remedies, and
                             liabilities whatsoever, asserted or assertable by or on behalf of WTB or CHS
                             under the CHS Loan Documents, whether known or unknown, foreseen or
                             unforeseen, existing or hereafter arising, in law, equity, or otherwise,
                             against the Debtors, their estates, and their postpetition officers, directors,
                             managers, members, employees, investors, principals, representatives, and
                             affiliates, arising from, related to, or in connection with the Debtors
                             (whether prepetition or postpetition), their chapter 11 cases, or any claims
                             asserted by WTB or CHS under the CHS Loan Documents against the
                             Debtors. For the avoidance of doubt, except as otherwise provided herein,
                             WTB, on behalf of itself and as successor to CHS under the CHS Loan
                             Documents, shall have no further claims against the Debtors.

                   Covenant Not to Sue. Upon the Parties’ compliance with this Agreement, including
 WTB’s receipt of the final payment required in Paragraph 6 above, each of the Parties agrees that
 it will not file, commence or otherwise assert, formally or informally, any claim, cause of action,
 or other matter released under this Agreement against any other Party hereto.

                 No Admissions. This Agreement, and the negotiation thereof, shall in no way
 constitute, be construed as, or be evidence of an admission or concession of any violation of any
 statute or law; of any fault, liability, or wrongdoing; or of any infirmity in the claims or defenses
 of any of the Parties with regard to any of the complaints, claims, allegations, or defenses asserted
 or that could have been asserted in connection with the subject matter of this Agreement or the


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 disputes described herein or settled or released hereby. This Agreement shall not be used, directly
 or indirectly, in any way, in litigation or other proceedings between or involving any of the Parties
 to prove liability or damages against any of the Parties, and this Agreement shall not be admissible
 as evidence in any legal proceeding between or involving any of the Parties, other than in litigation
 or a proceeding to enforce the terms of this Agreement or to provide evidence of the claims being
 released.

                 Notices. Unless otherwise specified, all notices required or permitted under this
 Agreement shall be in writing and shall be delivered both by email and (1) hand or (2) prepaid
 delivery service with package tracking capabilities. Such notices shall be addressed as follows (or
 at such other addresses as shall subsequently be specified by like notice):

                  A.         For notices (but not service of process) to the Debtors:

                             Easterday Ranches, Inc. and Easterday Farms
                             c/o Paladin Management Group
                             200 South Wacker Drive, 31st Floor
                             Chicago, IL 60606
                             Attn: Peter Richter
                             Email: prichter@paladinmgmt.com

                                    -and-

                             Pachulski Stang Ziehl & Jones LLP
                             10100 Santa Monica Blvd., 13th Floor
                             Los Angeles, CA 9067
                             Attn: Richard M. Pachulski, Esq. and Jeff Dulberg
                             Email: rpachulski@pszjlaw.com; jdulberg@pszjlaw.com

                  B.         For notices (but not service of process) to WTB:

                             Washington Trust Bank
                             Attn. Claire Baker, VP
                             PO Box 2127
                             Spokane WA, 99210-2127
                             Email:

                                    -and-

                             Lukins & Annis, P.S.
                             717 W. Sprague Ave., Suite 1600
                             Spokane, WA 99201
                             Attention: Trevor Pincock, Esq.
                             Email: tpincock@lukins.com

               Entire Agreement. This Agreement contains the entire understanding of the Parties
 and supersedes all prior oral, written, or other understandings relating to the subject matter hereof,

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 and shall not be altered, amended, or otherwise modified except by a written instrument signed by
 each of the Parties.

                 GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
 FORUM. THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
 ACCORDANCE WITH THE LAWS OF WASHINGTON APPLICABLE TO CONTRACTS
 MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT GIVING EFFECT TO THE
 CONFLICT OF LAWS PRINCIPLES THEREOF, EXCEPT AS GOVERNED BY THE
 BANKRUPTCY CODE. Each Party hereto agrees that it shall bring any action or proceeding in
 respect of any claim arising out of or related to this Agreement, in the Bankruptcy Court so long
 as the Debtors’ chapter 11 cases are pending, or in the event not so pending, in the state or federal
 courts located in the State of Washington or other court of proper appellate jurisdiction in respect
 of the foregoing (the “Chosen Courts”), and solely in connection with claims arising under this
 Agreement: (a) irrevocably submits to the exclusive jurisdiction of the Chosen Courts; (b) waives
 any objection to laying venue in any such action or proceeding in the Chosen Courts; and
 (c) waives any objection that the Chosen Courts are an inconvenient forum or do not have
 jurisdiction over any Party hereto.

                 Specific Performance/Remedies. It is understood and agreed by the Parties that
 money damages would not be a sufficient remedy for any breach of this Agreement by any Party
 and each non-breaching Party shall be entitled to seek specific performance and injunctive or other
 equitable relief (including attorney’s fees and costs) as a remedy for any such breach, in addition
 to any other remedy to which such non-breaching Party may be entitled, at law or equity, without
 the necessity of proving the inadequacy of money damages as a remedy, including an order of the
 Chosen Court or the Bankruptcy Court requiring any Party to comply promptly with any of its
 obligations hereunder. Each Party agrees to waive any requirement for the securing or posting of
 a bond in connection with such remedy.

                Negotiation and Drafting; Voluntary Execution; Disclaimer of Reliance. Each
 Party to this Agreement represents, warrants, and acknowledges to the other Parties hereto that:

                  A.         this Agreement was drafted jointly by the Parties;

                  B.         this Agreement is the result of arm’s length negotiations between the
                             Parties;

                  C.         such Party is entering into this Agreement with full knowledge of any and
                             all rights that the Parties may have;

                  D.         such Party has consulted with such Party’s own attorneys and fully
                             understands the terms hereof;

                  E.         such Party has received, or has had made available to it, all information
                             necessary to make an informed judgment concerning the Agreement;

                  F.         such Party has received legal advice from such Party’s own attorneys
                             regarding the advisability of entering into the settlement provided for herein
                             and is voluntarily executing this Agreement;

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                  G.         in negotiating and entering into this Agreement, such Party has not relied
                             on, and has not been induced by, any representation, warranty, statement,
                             estimate, communication, or information, of any nature whatsoever,
                             whether written or oral, by, on behalf of, or concerning the other Party or
                             any agent of the other Party, or otherwise, except as expressly set forth in
                             this Agreement, and no such representations have been made;

                  H.         such Party expressly disclaims reliance upon any communication or
                             information, whether written or oral, between or among the Parties at any
                             time prior to and during the negotiation and execution of this Agreement;
                             and

                  I.         such Party affirmatively represents and acknowledges that it is relying
                             solely on the express terms contained within this Agreement.

               Bankruptcy Court Approval. This Agreement and the occurrence of the Agreement
 Effective Date is subject to and conditioned upon entry of the Approval Order that has not been
 stayed.

                Successors and Assigns. This Agreement shall be binding upon the Parties hereto
 and their respective affiliates, successors, and assigns.

                Severability. If any provision of this Agreement is found or held to be invalid or
 unenforceable by a court or other decision-making body of competent jurisdiction, the remainder
 of this Agreement shall remain valid and enforceable to the greatest extent allowed by such court
 or body under law.

                 No Third Party Beneficiaries. Except for the releases in favor of the Parties’
 officers, directors, managers, members, employees, investors, principals, representatives,
 participants, and affiliates, this Agreement is solely for the benefit of the Parties hereto, and no
 provision of this Agreement shall be deemed to confer upon any third parties any claim, remedy,
 liability, reimbursement, cause of action, or other right

                 Remedies Cumulative. All rights, powers, and remedies provided under this
 Agreement or otherwise available in respect hereof at law or in equity shall be cumulative and not
 alternative, and the exercise of any right, power, or remedy thereof by any Party shall not preclude
 the simultaneous or later exercise of any other such right, power, or remedy by such Party.

                Further Assurances. Subject to the other terms of this Agreement, the Parties agree
 to execute and deliver such other instruments and perform such acts, in addition to the matters
 herein specified, as may be reasonably appropriate or necessary, or as may be required by order of
 the Bankruptcy Court, from time to time, to effectuate and implement the terms of this Agreement.

                Headings. The headings of all sections of this Agreement are inserted solely for
 the convenience of reference and are not a part of and are not intended to govern, limit, or aid in
 the construction or interpretation of any term or provision hereof.



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                 Interpretation and Rules of Construction. This Agreement is the product of
 negotiations among the Parties, and in the enforcement or interpretation hereof, is to be interpreted
 in a neutral manner, and any presumption with regard to interpretation for or against any Party by
 reason of that Party having drafted or caused to be drafted this Agreement, or any portion hereof,
 shall not be effective in regard to the interpretation hereof. The Parties were each represented by
 counsel during the negotiations and drafting of this Agreement and continue to be represented by
 counsel. In addition, this Agreement shall be interpreted in accordance with section 102 of the
 Bankruptcy Code.

                 Execution in Counterparts; Electronic Signatures. This Agreement may be
 executed in any number of counterparts, each of which, when so executed, will be deemed an
 original, but all such counterparts will constitute but one and the same document. Delivery by a
 Party of an executed counterpart of a signature page to this Agreement by facsimile or PDF
 documents sent by email will be effective as delivery of an original executed counterpart.
 In addition, the Parties consent to the execution of this Agreement by an “electronic signature,” as
 that term is used in either the Uniform Electronic Transactions Act, the Electronic Signatures in
 Global and National Commerce Act, 15 U.S.C. § 7006(5), or any similar law.


                                     [Signature Pages Follow]




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         WHEREFORE, the Parties below have entered into this Agreement as of the date set forth
 on the first page above.

                                                   DEBTORS:

                                                   EASTERDAY RANCHES, INC.
                                                   EASTERDAY FARMS


                                                   By:    /s/ Peter Richter
                                                   Name: Peter Richter
                                                   Title: Co-Chief Restructuring Officer




                                                   WTB:

                                                   WASHINGTON TRUST BANK




                                                   By:    /s/ Claire Baker
                                                   Name: Claire Baker
                                                   Title: Vice President




                         [Signature Page to Settlement Agreement and Release]
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